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                        UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                          JUN 2 2023
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
OCM GROUP USA, INC.,                                Nos. 21-55651
                                                         21-55954
                    Plaintiff-Appellant,
    v.                                              D.C. No.
                                                    2:19-cv-08917-SB-KS
LIN'S WAHA INTERNATIONAL CORP.,                     Central District of California,
a New York corporation; DOES, 1-10,                 Los Angeles

                    Defendants-Appellees.           ORDER

Before: Lisa B. Fitzgerald, Appellate Commissioner.

                                      I. Introduction

         The court awarded attorney fees to defendant-appellee Lin’s Waha

International Corp. (LWI) and referred to the appellate commissioner the

determination of an appropriate amount. See 9th Cir. R. 39-1.9.

         LWI requests $34,981.50 in fees for 75.71 hours of work by Brandon J.

Witkow of the witkow | baskin law firm in Woodland Hills, California.

     Timekeeper        Position            Admit Year Rate    Hours Fees
     Brandon J. Witkow Partner             2000 2021 $450.00 14.6 $ 6,570.00
                                                 2022 $465.00 61.1 $28,411.50
     Total                                                    75.7 $34,981.50

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 The total hours are taken from LWI’s request page 12, Form 9, and invoices, see
LWI Req., Docket Entry No. 52-1 at 12; LWI Req., Witkow Decl. Ex. A, Form 9,
Docket Entry No. 52-2 at 7; LWI Req., Witkow Decl. Ex. B, Invoices, Docket
Entry No. 52-2 at 9-18; and not from LWI’s request page 11 or Witkow’s
declaration paragraphs 4 and 5. See LWI Req., Docket Entry No. 52-1 at 11; LWI
Req., Witkow Decl. ¶¶ 4, 5, Docket Entry No. 52-2 at 3, 4.

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         LWI is awarded 70.3 hours and $32,470.50 in fees.

                                     II. Discussion

A. Attorney Fees

         1. Reasonably Expended Hours

               a. Staffing and Clerical Work

         Plaintiff-appellant OCM Group USA, Inc., objects to 18.6 hours because

partner Witkow performed the work himself rather than delegating to associates or

paralegals and billed clerical work at attorney rates.

         Witkow attests that his law firm consists of himself, his law partner, and his

wife, Erin Witkow; that he does not employ associates, paralegals, or legal

secretaries; and that he sometimes hires and bills as an expense a contract paralegal

to assist with clerical tasks (e.g., running tables of contents and authorities,

preparing documents for filing or service, and coordinating filing and service of

documents). See LWI Reply, Witkow Suppl. Decl. ¶ 2, Docket Entry No. 62-2 at 2;

see also LWI Req., Witkow Decl. Ex. B, Invoices, Docket Entry No. 52-2 at 13.

         Despite using a contract paralegal to perform clerical tasks on February 9,

2022, Witkow himself billed for preparing tables of contents and authorities, and

coordinating service of hard copies of the briefs, on February 8 and 16, 2022. See

LWI Req., Witkow Decl. Ex. B, Invoices, Docket Entry No. 52-2 at 13; see also


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OCM Resp., Docket Entry No. 56 at 13. “Purely clerical or secretarial tasks should

not be billed at a paralegal [or attorney] rate, regardless of who performs it.”

Missouri v. Jenkins, 491 U.S. 274, 288 n.10 (1989). Witkow’s clerical work is

billed with related tasks, so the entire time entries are disallowed (4.1 hours;

$1,906.50 in fees).

         The remaining time entries that OCM argues should have been billed by

associates or paralegals at lower rates are legal rather than clerical in nature, and

they were permissibly billed at attorney rates. See OCM Resp., Docket Entry No.

56 at 13-14; see also Jenkins, 491 U.S. at 288 n.10 (describing gray area of tasks

that might appropriately be performed either by an attorney or a paralegal);

Moreno v. City of Sacramento, 534 F.3d 1106, 1114-15 (9th Cir. 2008) (the court’s

role is not to speculate about how a case could have been staffed; the court’s

inquiry is limited to whether the fees requested by a lawyer are justified).

               b. Block Billing

         OCM’s contention that 32.72 hours should be reduced by 20 percent for

block billing is unsupported. Most of the time entries OCM identifies were not

block billed – they itemized related tasks rather than lumping together unrelated

tasks, and it’s possible to evaluate the reasonableness of the time requests. See

Welch v. Metro. Life Ins. Co., 480 F.3d 942, 945 n.2, 948 (9th Cir. 2007)


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    4.1 of these hours were disallowed above as clerical work.

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(describing block billing); cf. OCM Resp., Docket Entry No. 56 at 15,17. The few

entries that were block billed involve short periods of time, so do not pose a risk of

increasing the time billed, and the requested hours are in line with time requests in

similar appeals.

                c. Petition For Rehearing and Fees-On-Fees

         OCM’s argument that LWI may not recover fees for reviewing OCM’s

petition for rehearing en banc and researching whether an opposition was required

is not well-taken. See Armstrong v. Davis, 318 F.3d 965, 971 (9th Cir. 2003)

(“[T]he award of fees should cover every item of service which, at the time

rendered, would have been undertaken by a reasonably prudent lawyer to advance

or protect his client's interest in the case at bar.” (internal quotation marks and

citation omitted)). However, billing a total of 1.8 hours on July 7, 2022 is

excessive for this work; 0.5 hour is allowed (a reduction of 1.3 hours and $604.50

in fees).

         OCM’s argument that the rehearing and fee-related work is not recoverable

under Federal Rule of Appellate Procedure Rule 38 is inapposite because there is

no indication that the panel relied on Rule 38 in awarding fees. After the panel

affirmed the district court’s award of fees under the Lanham Act, see OCM Grp.

USA, Inc. v. Lin’s Waha Int’l Corp., Nos. 21-55651 & 21-55954, 2022 WL

2235782, at *2 (9th Cir. June 22, 2022), LWI requested fees on appeal, principally


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under the Lanham Act, and alternately under Rule 38. See LWI Req., Docket

Entry No. 52-1 at 1-2, 4-8, 13-15. Nothing in the order granting the motion

suggests that the panel disagreed with the principal argument in the motion – that

fees were warranted under the Lanham Act. See Order, Docket Entry No. 63.

               d. Reasonable Hours Summary

         LWI’s attorney reasonably spent the remaining 70.3 hours, and these hours

are awarded. Witkow prepared an answering brief and supplemental excerpts of

record, as well as an extension request, responses to oral argument notices, a cost

bill, and a fee request. Witkow participated in mediation and presented oral

argument remotely by video. LWI does not request fees for preparing a fee reply.

         2. Reasonable Hourly Rates

         OCM argues that Witkow’s statement that “intellectual property attorneys at

law firms in Los Angeles charge between $300 up to more than $1,000 per hour” is

insufficient to satisfy LWI’s burden to show that the requested rates are in line

with prevailing market rates, and that this court should award no more than the

$450 rate the district court awarded for 2019-21 work for the 2022 work on appeal.

See LWI Req., Witkow Decl. ¶ 3, Docket Entry No. 52-2 at 3; LWI Req., Witkow

Decl. Ex. D, Dist. Ct. Order, Docket Entry No. 52-2 at 33. These arguments are not

well-founded.




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         OCM submits no rebuttal evidence regarding 2022 prevailing market rates

and presents no valid legal reason for rejecting the requested rates. See United

States v. $28,000.00 in U.S. Currency, 802 F.3d 1100, 1105-06 (9th Cir. 2015) (if

fee target offers no countervailing evidence or valid legal reason for denying fee

request, court’s inquiry ends after determining that request is facially reasonable).

         LWI’s request satisfies the burden to produce evidence that the requested

rates are reasonable. See Chaudhry v. City of Los Angeles, 751 F.3d 1096, 1110

(9th Cir. 2014) (affidavits of movant’s attorney and other attorneys regarding

prevailing fees in the community are satisfactory evidence of prevailing market

rates); see also Carson v. Billings Police Dep’t, 470 F.3d 889, 892 (9th Cir. 2006)

(firm’s billing of the rates provides further evidence of prevailing market rates).

         Witkow’s 2022 rate reasonably is $15 higher than the 2019-21 rate awarded

by the district court, due to inflation and Witkow’s increased experience. See

Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011) (court permitted to rely on

its own knowledge of customary rates and experience concerning reasonable fees);

see also Bell v. Clackamas County, 341 F.3d 858, 869 (9th Cir. 2003) (“it was an

abuse of discretion ... to apply market rates in effect more than two

years before the work was performed”).

         Moreover, LWI’s reply includes additional evidence that the requested rates

are reasonable. LWI cites two Central District of California awards of higher rates


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for comparable attorneys. See LWI Reply, Docket Entry No. 62-1 at 9-10; see also

United Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir.

1990) (“rate determinations in other cases . . . are satisfactory evidence of the

prevailing market rate”). Also, Witkow attests that his law partner’s and his wife’s

experience and billing rates are comparable to his rates. See LWI Reply, Witkow

Suppl. Decl. ¶ 2, Docket Entry No. 62-2 at 2.

         LWI’s requested rates are reasonable and they are awarded.

         3. Fees Summary

         After disallowing $1,906.50 in fees for clerical work and $604.50 in fees for

rehearing work, LWI’s reasonable fees total $32,470.50.

B. Double Costs

         The court did not grant LWI’s request for double costs under Rule 38. See

Order, Docket Entry No. 63.

                                    III. Conclusion

         Attorney fees in the amount of $32,470.50 are awarded in favor of

defendant-appellee Lin’s Waha International Corp. and against plaintiff-appellant

OCM Group USA, Inc. See 9th Cir. R. 39-1.9. This order amends the court’s

mandate.




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